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                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA
                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

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                                                 }
IN RE: BLUE CROSS BLUE SHIELD                    }
ANTITRUST LITIGATION                             }         Master File No.: 2:13-CV-20000-RDP
(MDL No.: 2406)                                  }
                                                 }           This document relates to all cases.
                                                 }
                                                 }

                          ORDER APPOINTING SPECIAL MASTER

         Pursuant to Federal Rule of Civil Procedure 53, and in the exercise of the court’s general

powers and responsibilities over class actions, and with the agreement of the parties, the court hereby

APPOINTS Edgar C. Gentle, III to serve as a Special Master in this action. The Special Master will

consult with the court generally and specifically as to the procedures to be followed and the judicial

decisions to be made in carrying out the following functions in these consolidated cases:

         1.      Selection of Interim Lead Class Counsel and the terms under which such counsel shall

serve;

         2.      Organizational structure of Interim Class Counsel, including, without limitation,

whether there should be two separate leadership of tracks (and a liaison between them), the

appointment of an Interim Plaintiffs’ Steering Committee, and the organizational and operational

structure of Plaintiffs’ Counsel;

         3.      Development and maintenance of a uniform system of Plaintiffs’ counsel time

keeping and expense recordation, so that it is fair and efficient;

         4.      Establishment and maintenance of a Plaintiffs’ counsel common litigation fund, and

the provision of accounting and related support;
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       5.      Determination of what actual disbursements should be made from the common

litigation fund as reimbursement and payment to “common benefit attorneys.” (See Manual for

Complex Litigation Third, § 24.23); and

       6.      Other matters related to the organization and operations of Interim Class Counsel.

       The Special Master will receive compensation (presently set at $250.00 per hour) and

reimbursements for expenses as directed by the court. Payments will be made from the common

litigation fund or from such other sources as may be directed in the future by the court. In addition,

the actions of the Special Master (and the employees or agents of the Special Master) in carrying out

the duties established by this and any subsequent orders will constitute judicial actions of this court

and be protected to the maximum extent allowable by law, by the doctrine of judicial immunity.

       The Special Master is further explicitly allowed to (and is expected to) consult with such

persons as he may choose in carrying out his duties.

       The court reserves the power to modify the terms of this order.

       DONE and ORDERED this              9th         day of January, 2013.


                                                       ___________________________________
                                                       R. DAVID PROCTOR
                                                       UNITED STATES DISTRICT JUDGE




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